          Case 1:19-cv-10203-IT Document 217 Filed 09/26/23 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

 SONYA LARSON,                                    *
                                                  *
        Plaintiff,                                *
                                                  *
                v.                                *      Civil Action No. 1:19-cv-10203-IT
                                                  *
 DAWN DORLAND PERRY,                              *
                                                  *
        Defendant.                                *

                                             ORDER

                                       September 26, 2023

       Sonya Larson’s Motion for Reconsideration [Doc. No. 214] seeks reconsideration of this

court’s granting Dawn Dorland Perry summary judgment as to Larson’s claims for intentional

interference with business relationships with American Short Fiction (”ASF”) and Boston Book

Festival (“BBF”). Larson contends that this court erred in finding that she had failed to

demonstrate any economic injury that resulted from such interference. In support of her request

for reconsideration, Larson now offers evidence relating to (1) the attorney’s fees she incurred in

responding to Dorland or her attorneys’ communications with ASF and BBF, and (2) the loss of

her job at GrubStreet. Larson Mem. 2 [Doc. No. 215]. Neither suffices.

       First, Larson did not claim attorney’s fees as damages caused by the alleged interference

with these two business relationships. See Second Amended Complaint ¶¶ 68, 76 [Doc. No. 91].

Indeed, at the summary judgment hearing, when asked directly, Larson’s counsel conceded that

Larson had suffered no direct financial loss as a result of Dorland’s alleged interference with

Larson’s relationships with BBF and ASF. And while counsel argued that indirect financial harm

to her career should be considered, he made no mention of attorneys’ fees.
          Case 1:19-cv-10203-IT Document 217 Filed 09/26/23 Page 2 of 2




       Second, Larson’s claims concerned her business relationships with ASF and BBF. She

did not bring a claim alleging interference with her business relationship with her employer

GrubStreet. 1

       Larson has not drawn this court’s attention to any evidence of economic harm caused by

the alleged interference with business relationships with BBF and ASF that the court erroneously

overlooked. As a result, her Motion for Reconsideration is DENIED.

       IT IS SO ORDERED

       September 26, 2023                                    /s/     Indira Talwani
                                                             United States District Judge




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  Nor could Larson succeed on such a claim. While Dorland wrote to Larson’s employer in 2018
to file “a complaint of professional misconduct” against Larson, that letter did not cause Larson’s
job loss. As Larson herself points out, she was still employed by GrubStreet, and indeed received
“a stellar performance review and a promotion” in 2021. Larson Affidavit [Doc. No. 214-1].
Larson contends that her firing was a result of “fallout” from the “Bad Art Friend” article, which
was published in the New York Times after Dorland reached out to a Times reporter. Larson
Mem. 6 [Doc. No. 215]. That may be true, but that summary glosses over the fact that the article
reported on Larson’s own statements and conduct—as revealed through text messages and other
social media communications. See Larson Mem. SJ, Ex. 36 (“Who Is the Bad Art Friend?”)
[Doc. No. 192-16] (“[T]he litigation crept along quietly until earlier this year, when the
discovery phase uncorked something unexpected . . . . pages and pages of printed texts and
emails between Larson and her writer friends, gossiping about Dorland.”). GrubStreet in turn
cited “certain documents relating to the lawsuit that recently came to light” in its public
statement regarding its leadership reorganization. Dorland Mem. SJ, Ex. G [Doc. No. 194-7].
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